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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, CaseNo. [8-CKR-20032
Plaintiff, Hon. AvEé4A/ CoHaAl

Vv. Offenses:

| 18 U.S.C. § 1344 (Count One)

D-1 JOSEPH DELFGAUW, Financial Institution Fraud

Defendant. Maximum Penalty:
30 Years (Count One)

Maximum Fine:
$1,000,000 (Count One)

Maximum Supervised Release:
5 Years

 

 

RULE 11 PLEA AGREEMENT
Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant

JOSEPH DELFGAUW (D-1) and the government agree as follows.

 
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1. GUILTY PLEA

A. Count of Conviction
The defendant will enter a plea of guilty to Count One of the Information,
which charges Bank Fraud in violation of 18 U.S.C. §1344 (Count One).
B. Elements of Offense
The elements of Count One of the Information, Bank Fraud in violation of 18
U.S.C. § 1344 are as follows.
1. That the defendant knowingly executed and attempted to execute a
scheme to defraud and,
2. to obtain money by means of material false and fraudulent pretenses
and representations, |

3, that was in the care, custody and control of a financial institution as
defined by 18 U.S.C.§ 20.

C. Factual Basis for Guilty Plea

The following facts are a sufficient and accurate basis for defendant
Delfgauw’s guilty plea.

From in or about January 2008 and continuing through in or about July 2008,

in the Eastern District of Michigan, Southern Division, Delfgauw executed a scheme

 
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to defraud and to obtain money owned by and under the control of financial
institutions by means of material false and fraudulent pretenses and representations.
As part of the scheme Delfgauw did the following:
a. In or about January 2008, Delfgauw recruited WL to be the buyer ofa
property located at 2458 Elliot, Lincoln Park, Michigan.
b.  Delfgauw, with intent to defraud and without the knowledge of the
mortgage lender Citimortgage, a financial institution, promised WL that
although the property would be purchased in her name, she would not have to
make the mortgage payments or fund the down payment.
c. Delfgauw, with intent to defraud, arranged for his company to provide
false proof of employment for WL, which was provided to Citimortgage with
the intent to influence its decision to approve the loan.
d. Also with intent to defraud, Delfgauw paid WL $3,000 after the closing
once the property was purchased in her name.
e. After the loan was approved and the proceeds were disbursed, no
payments were made. This caused the loan to default resulting in losses to the

Citimortgage.

 
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resulting in losses to Citimortgage.

| The total fraud loss for the properties defendant purchased fraudulently is
$203,000. Defendant agrees that these losses will be included as relevant conduct for
calculating his sentencing guidelines.
If. SENTENCING GUIDELINES

A. Standard of Proof

The Court will find sentencing factors by a preponderance of the evidence,
following receipt of this Rule 11 Plea Agreement, the Presentence Report, and any
other information that the Court may require of the parties. |

B. Guideline Range

Count One: The government’s recommended guidelines range is 15-21

| months, and the defendant agrees with this guidelines range.

Except as necessary to the Court’s determination regarding paragraph 2.B.1,
neither party may take a position concerning the applicable guidelines that is
different than any position of that party as noted above, and as reflected in the
attached worksheets. Nothing in this agreement precludes the defendant from

arguing for a non-custodial sentence.

 
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1. Findings That Increase The Government’s Recommended
Guidelines Range

If the Court finds that (i) the defendant’s criminal history category is higher
than reflected on the attached worksheets, or (ii) the offense level should be higher
because, after pleading guilty, the defendant made any false statement to or
withheld information from his probation officer, otherwise demonstrated a lack of
acceptance of responsibility for his offense, or obstruction of justice or committed
any crime, and if any such finding results in a guideline range higher than 15-2]
months with respect to Count One, the higher guidelines range becomes the
government’s recommended guidelines range in paragraph 2B as to Count One.

2. Findings That Do Not Increase The Government’s
Recommended Guidelines Range

If the Court finds that defendant is a career offender, an armed career
criminal, or a repeat and. dangerous sex offender as defined under the sentencing
guidelines or other federal law, and that finding is not already reflected in the
attached worksheets, this paragraph does not authorize a corresponding increase in
the government’s recommended guideline range.

3. SENTENCE

 
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The Court will impose a sentence pursuant to 18 U.S.C. §3553, and in doing
so must consider the Sentencing Guidelines range.

A. Imprisonment

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the sentence of
imprisonment in this case may not exceed (i) the top of the government’s

recommended guidelines range as described in Paragraph 2.B as to Count One.

B. Supervised Release

A term of supervised release follows the term of imprisonment. The Court
may impose a term of supervised release on Count One of no more than five (5)
years. The agreement concerning imprisonment described above in Paragraph 3.A
does not apply to any term of imprisonment that results from any later revocation of
supervised release.

Cc. Special Assessment

The defendant will pay a special assessment of $100 and must provide the
government with a receipt for the payment before sentence is imposed.

D. Fine

There is no agreement as to fines.

 
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E. Restitution

The Court shall order restitution to every identifiable victim of the
defendant’s offense. The Court will determine the specific amounts of restitution to
be paid to the identified victims.
4, | COOPERATION AGREEMENT

A. Cooperation

The defendant agrees to assist the United States Attorney’s Office in the
investigation and prosecution of others involved in criminal activities, as specified
below.

1. Truthful Information and Testimony. The defendant will provide

truthful and complete information concerning all facts of this case known to him.

 

- The defendant will provide full debriefings as requested to the U.S. Attorney and
federal, state, and local law enforcement agencies. The defendant will provide
truthful testimony at all proceedings, whether criminal, civil, or administrative, as
requested by the U.S. Attorney. Such testimony may include, but is not limited to,
grand jury proceedings, trials, and pretrial and post-trial proceedings. The

defendant agrees to be available for interviews in preparation of all testimony. The

 
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8.

defendant further agrees to submit, upon request, to government-administered
polygraph examinations to verify the defendant’s full and truthful cooperation. The
defendant understands that this obligation to provide cooperation continues after
sentencing and that failure to follow through constitutes a breach of this agreement.

2. Active Cooperation. The defendant shall provide the following
active cooperation. At the request of the U.S. Attorney, the defendant will testify
truthfully at any trial or other proceeding concerning this matter. In addition, the
defendant will make himself available for any meetings or interviews requested by
the U.S. Attorney in preparation for such testimony.

3. Nature of Cooperation. The defendant agrees to cooperate in good
faith, meaning that the defendant will not only respond truthfully and completely to
all questions asked, but will also volunteer all information that 1s reasonably related
to the subjects discussed in the debriefing. In other words, the defendant may not
omit facts about crimes, participants, or the defendant’s involvement, and then
claim not to have breached this agreement because the defendant was not
specifically asked questions about those crimes, participants, or involvement. The

defendant will notify the U.S. Attorney in advance if the defendant intends to offer

 
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-9.
a statement or debriefing to other persons other than the defendant's attorney. The
defendant is not prevented in any way from providing truthful information helpful
to the defense of any person. Any actions or statements inconsistent with continued
cooperation under this agreement, including but not limited to criminal activity, or a
statement indicating a refusal to testify, or any other conduct which in any way
undermines the effectiveness of the defendant's cooperation, constitutes a breach of
this agreement.

B. Government's Authority Regarding Substantial Assistance

1. Substantial Assistance Determination. It is exclusively within the
government’s discretion to determine whether the defendant has provided
substantial assistance. Upon the government’s determination that the defendant’s
cooperation amounts to substantial assistance in the investigation or prosecution of
others, the government will seek a downward departure at sentencing under
U.S.S.G. Section 5k1.1. If the government makes such a motion, the amount of
reduction, if any, will be determined by the court.

2. Use of Information Against Defendant. In exchange for the

defendant’s agreement to cooperate with the government, as outlined above, the

 
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government agrees not to use new information that the defendant provides (pursuant
to this agreement) about the defendant’s own criminal conduct against defendant at
sentencing in this case. Such information may be revealed to the court but may not
be used against the defendant in determining the defendant’s sentence range,
choosing a sentence within the range, or departing from the range. There shall be
no such restrictions on the use of information: (i) previously known to law
enforcement agencies; (ii) revealed to law enforcement agencies by, or discoverable
through, an independent source; (iii) in a prosecution for perjury or giving a faise
statement; or (iv) in the event there is a breach of this agreement.
5. OTHER CHARGES

There are no other charges.
6. USE OF WITHDRAWN GUILTY PLEA

If the Court allows the defendant to withdraw his guilty plea for a “fair and
just reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), the defendant waives his
rights under Fed. R. Evid. 410, and the government may use his guilty plea, any
statement made under oath at the change-of-plea hearing, and the factual basis

statement in this plea agreement against him in any proceeding.

 
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-i1-
47, EACH Parry’s RIGHT TO WITHDRAW FROM THIS AGREEMENT
The government may withdraw from this agreement at any time prior to this .
Court’s acceptance of the defendant’s guilty plea.

The defendant may withdraw from this agreement, and may withdraw
his guilty plea, only if the Court decides to impose a sentence higher than the
maximum allowed by Paragraph 3. This is the only reason for which the defendant
may withdraw from this agreement. The Court shall advise defendant that if he
does not withdraw his guilty plea under this circumstance, the Court may impose a
sentence greater than the maximum allowed by Paragraph 3.

8. WAIVER OF APPEAL
- Defendant waives any right he may have to appeal his conviction. In
addition, the defendant waives any right he may have to appeal his sentence if (i)
with respect to Count One, tbe sentence of imprisonment imposed does not exceed
pie < ra‘
the higher of 29 months or if the Court makes a finding of the type specified i in

Paragraph 2.B.1., the top of the Guidelines range as determined by the Court.

9, CONSEQUENCES OF WITHDRAWAL OF GUILTY PLEA OR VACATION OF
CONVICTION

 
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If defendant is allowed to withdraw his guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against the defendant within six months after the date
the order vacating defendant’s conviction or allowing him to withdraw his guilty
plea becomes final, which charges relate directly or indirectly to the conduct
underlying the guilty plea or to any conduct reflected in the attached worksheets,

_ the defendant waives his right to challenge the additional charges on the ground that
they were not filed in a timely manner, including any claim that they were filed

after the limitations period expired.

10. PARTEES TO PLEA AGREEMENT

 
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Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.

10. SCOPE OF PLEA AGREEMENT

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time
before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if the defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any

such prior written agreement.

 
f

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-14-
This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States

or any other party. |
10. ACCEPTANCE OF AGREEMENT BY DEFENDANT

This plea offer expires unless it has been received, fuily signed, in the Office
of the United States Attorney by 5:00 P.M. on 12/14/2017. The government
reserves the right to modify or revoke this offer at any time before defendant pleads
guilty.

Daniel L. Lemisch
Actifig LOG Attorney

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John K. N gal” pa | Kar \L Koide
Chief, ne Collar Crime Unit Assistant United States Attorney
Assistant United States Attorney —

 

 

Date: G-229- {[e
By signing below, defendant acknowledges that he has read (or been read)
this entire document, understands it, and agrees to its terms. He also acknowledges

that he is satisfied with his attorney’s advice and representation. Defendant agrees

 
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-~15-
that he has had a full and complete opportunity to confer with his lawyer, and has

had all of his questions answered by his lawyer.

_— —} a
Erietadase—— :

Joseply Delfgau
Attorney for Defendant — Defendant

Dated: Dated:

 

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Defendant: | Joseph Delfgauw Count: One
Docket No.: Statute: 18 U.S.C. §1344 -- Bank Fraud

 

 

 

 

 

 

WORKSHEET A (Offense Levels)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct
and treating each stipulated offense as a separate count of conviction) before applying the
multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts
of conviction, if the counts of conviction are all “closely related” to each other within the meaning
of U.S.S.G. § 3D1.2(d), complete only a single Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

Guideline Section Description Levels

 

2B1.i(a)(1) Base Level

2B1.1(b)(1)\(F) >$150,000 and <$250,000

 

 

 

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description Levels

 

 

 

 

 

 

 

 

A-l

 
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Defendant: | Joseph Delfgauw Count: One

 

 

 

 

 

Docket No.: Statute: 18 U.S.C. §1344 — Bank Fraud

 

 

3. ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does
not cover every count of conviction (taking into account relevant conduct and treating
each stipulated offense as a separate count of conviction), complete one or more
additional Worksheets A and a single Worksheet B.

 

Hock GK CR ck Gk GR

 

 

 

If this is the only Worksheet A, check this box and skip Worksheet B.

 

If the defendant has no criminal history, check this box and skip Worksheet C.

 

 

 

A-2

 
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Defendant: | Joseph Delfgauw Count:

One

 

 

 

 

Docket No.: Statute:

 

 

18 U.S.C. 81344 — Bank Fraud

 

WORKSHEET B (Multiple Counts)

Instructions (U.S.S.G. ch. 3, pt. D):

e Group the counts of conviction into distinct Groups of Closely Related Counts. “All
counts involving substantially the same harm shall be grouped together into a single

Group.” (See U.S.S.G. § 3D1.2.)

¢ Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)

® Determine the combined offense level by assigning “units” to each Group as follows (see

U.S.S.G. § 3D14):

° assign | unit to the Group with the highest offense level,

° assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels
less serious than, the Group with the highest offense level,
. assign % unit to each Group that i is 5 to 8 levels less serious than the Group with the

highest offense level,

° assign no units to each Group that is 9 or more levels less serious than the Group

with the highest offense level.

‘1. GROUP ONE: COUNT(S)
ADJUSTED OFFENSE LEVEL

2. Group Two: COUNT(S)
ADJUSTED OFFENSE LEVEL

3. Group THREE: COUNT(S)
ADJUSTED OFFENSE LEVEL

4, GRouP Four: COUNT(S)
ADJUSTED OFFENSE LEVEL

5. TOTAL UNITS

B-1

 

 

unit

 

 

unit

 

 

unit

 

 

 

 

 

unit

 

 

 

 

 

units

 

 
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Defendant: | Joseph Delfgauw Count: One
Docket No.: Statute: 18 U.S.C. §1344 — Bank Fraud
6. INCREASE IN OFFENSE LEVEL
i unit —-—> no increase 2 1/2 —3 units ———> add 3 levels

1 1/2 units ———> add 1 level 3 1/2 —5 units ———> add 4 levels
2 units ———> add 2 levels > 5 levels ———> add 5 levels

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

8. COMBINED ADJUSTED OFFENSE LEVEL

Enter the sum of the offense levels entered in Items 6 and 7.

 

 

 

 

 

 

 

 

 
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Defendant: | Joseph Delfgauw | Count: One

 

 

Docket No.: | Statute: 18 U.S.C. §1344 — Bank Fraud

 

 

 

 

WORKSHEET C (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant

conduct and stipulated offenses):

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months
(U.S.8.G. §§ 4AL.1(a)):

Enter 3 points for each prior adult sentence of imprisonment exceeding
one year and one month that either (1} was imposed within 15 years
of the defendant's commencement of the instant offenses (taking into account
relevant conduct and stipulated offenses) or (2) resulted in the defendant’s
confinement during any part of that 15-year period. (See U.S.S.G. §§
AAI.1(a), 4A1.2(d)(1), (e)C).)

Prior Sentence of Imprisonment of at Least 60 Days

(U.S.S.G. §§ 4A1.1(b)): .

Enter 2 points for each prior sentence of imprisonment of at least 60 days not
counted under U.S.S.G, § 4A1.1(a) that either (1) resulted from an offense
committed after the defendant turned 18 and was imposed within 10 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b),
4A1.2(e)(2)) or (2) resulted from an offense committed before the defendant

turned 18 and resulted in the defendant’s confinement during any part of the .

5-year period preceding the defendant’s commencement of the instant offense
(see ULS.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences

(U.S.S.G, §§ 4A1 1(c)):
Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1{a)

or (b) that either (1) resulted from an offense committed after the defendant
turned 18 and was imposed within 10 years of the defendant’s
commencement of the instant offense (taking into account relevant conduct
and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2)
resulted from an offense committed before the defendant turned 18 and was

imposed within 5 years of the defendant’s commencement of the instant

offense (taking into account relevant conduct and stipulated offenses) (see

U.S.S.G. §§ 4A1.1(c), 4A1.2(d)(2)(B)). NOTE: No more than 4 points may
be added under this item.

C-1

3 POINTS

2 POINTS

1 POINT —

 

 
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Defendant: | Joseph Delfgauw Count: One
Docket No.: | _ Statute: 18 U.S.C. §1344— Bank Fraud
Date of Release
Imposition Status* Offense Sentence Date** Points

 

 

 

 

 

 

 

 

 

* Tf the defendant committed the offense before turning 18, indicate whether he or she was
sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only two situations: (1) when a sentence covered under
U.S.S.G. § 4A1.1(a) was imposed more than 15 years before the defendant’s commencement of
the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in
his or her confinement during any part of that 15-year period; or (2) when a sentence counted
under U.S.S.G. § 4A1.1(b) was imposed for an offense committed before the defendant turned
18 but resulted in his or her confinement during any part of the 5-year period preceding his or
her commencement of the instant offense (taking into account relevant conduct and stipulated
offenses).

 
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Defendant: | Joseph Delfgauw Count: One _.
Docket No.: Statute: | 18 U.S.C. §1344 — Bank Fraud

 

 

 

 

 

 

 

2. COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE
(U.S.S.G. § 4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense
(taking into account relevant conduct and stipulated offenses) while under any
criminal justice sentence having a custodial or supervisory component,
including probation, parole, supervised release, imprisonment, work release, —
and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type
of control and identify the sentence from which it resulted.

 

 

 

 

 

 

3. PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(e)) -

Enter 1 point for each prior sentence resulting from a conviction for a crime
of violence that did not receive any points under U.S.S.G. § 4A1.1(a), (6), or
(c) because such sentence was considered related to another sentence
resulting from a conviction for a crime of violence. But enter no points where
the sentences are considered related because the offenses occurred on the
same occasion. (See U.S.S.G. §§ 4A1.1(e), 441.2(p).) Identify the crimes
of violence and briefly explain why the cases are considered related. NOTE:
No more than 3 points may be added under this item.

 

 

 

 

 

 

 

4. ‘TOTAL CRIMINAL HISTORY POINTS
Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

 

5. CRIMINAL HISTORY CATEGORY

 

 

 

Total Criminal History Points Criminal History Category
0-1 L
2-3 Ik
4-6 TIE
7-9 . IV
10-12 V
213 . VI

 

 

 

 

 
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Enter

Defendant: | Joseph Delfgauw Count: One |
Docket No.: Statute: 18 U.S.C. §1344 — Bank Fraud
WORKSHEET D (Guideline Range)
1. (COMBINED) ADJUSTED OFFENSE LEVEL

the adjusted offense level entered in Item 3 of Worksheet A or

the combined adjusted offense level entered in item 8 of Worksheet B.

ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY

(U.S.S.G. § 3EL.1)

TOTAL OFFENSE LEVEL

Enter the difference between Items | and 2.

Enter

CRIMINAL HISTORY CATEGORY

“I if the defendant has no criminal. history. Otherwise, enter the

criminal history category entered in Item 6 of Worksheet C.

CAREER OFFENDER/CRIMINAL LIVELIHOOD/ARMED CAREER

CRIMINAL/DANGEROUS SEX OFFENDER (U.S.S.G. CH. 4, PT. B)

Total Offense Level: If the career offender provision (U.S.S.G.
§ 4B1.1), the criminal livelihood provision (U.S.S.G. § 4B1.3), the
armed career criminal provision (U.S.S.G. § 4B1.4), or the
dangerous sex offender provision (U.S.S.G. § 4B1.5) results in a total
offense level higher than the total offense level entered in Item 3, enter
the higher offense level total.

Criminal History Category: If the career offender provision
(U.S.S.G. § 4B1.1), the armed career criminal provision (U.S.8.G.
§ 4B1.4), or the dangerous sex offender provision (U.S.S.G,
§ 4B1.5) results in a criminal history categoty higher than the
criminal history category entered in Item 4, enter the higher
criminal history category.

6. GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. CH. 5, PT. A)
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt.
A) produced by the total offense level entered in Item 3 or 5.a and the
criminal history category entered in Item 4 or 5.b.

D-1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

15 21

 

 

 

months

 
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Defendant: .| Joseph Delfgauw Count: One

 

 

 

 

 

Docket No.: . Statute: 18 U.S.C. §1344 — Bank Fraud

 

 

7, STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
If the maximum sentence authorized by statute is below, or a minimum
sentence required by statute is above, the guideline range entered in Item 6,
enter either the guideline range as restricted by statute or the sentence
required by statute. (See U.S.S.G. § SG1.1.) If the sentence on any count
of conviction is required by statute to be consecutive to the sentence on
any other count of conviction, explain why.

D-2 .

 

 

 

 

months

 
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Defendant:

J oseph Delfgauw Count: One

 

 

Docket No.: Statute: 18 U.S.C. §1344 — Bank Fraud.

 

 

 

 

 

WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION

a.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c,

 

a. 4

 

 

 

 

 

SAPS b.

 

Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

1. Probation is not authorized by the guidelines (minimum of guideline
range 210 months or statute of conviction is a Class A or a Class B
felony). If this box is checked, go to Item 2 (Split Sentence).

2. Probation is authorized by the guidelines (minimum of guideline range
= zero months). . |

3. Probation is authorized by the guidelines, provided the court imposes.a
condition or combination of conditions requiring intermittent
confinement, community confinement, or home detention satisfying the
minimum of the guideline range (minimum of guideline range > 0
months but <9 months). Oo

Length of Term of Probation (U.S.S.G. § 5B1.2).
1. Atleast 1 year but not more than 5 years (total offense level 26)
2. No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.S.G. § 5B1.3)

SpLit SENTENCE (U.S.S.G. § 5C1.1(C)(2), (D)(2))

A split sentence is not authorized (minimum of guideline range = 0 months or 215
months).

A split sentence is authorized (minimum of guideline range > 0 months but <12
months). The court may impose a sentence of imprisonment that includes a term of
supervised release with a condition that substitutes community confinement or home
detention for imprisonment, provided that at least one-half of the minimum of the
guideline range is satisfied by imprisonment (if the minimum of the guideline range
is 10 or 12 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, 6, 8, or 9 months). The authorized
length of the term of supervised release is set forth below in Item 4.b.

3. IMPRISONMENT (U.S.S.G. CH. 5, PT. C)

A term of imprisonment is authorized by the guidelines if it is within the applicable
guideline range (entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

 
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Defendant:

Joseph Delfgauw Count: One

 

 

Docket No.

 

 

 

 

Statute: 18 U.S.C. §1344 — Bank Fraud

 

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

 

 

 

 

 

 

 

 

 

 

 

 

 

Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)

The court must impose a term of supervised release if it imposes a term of
imprisonment of more than one year, or if it is required to do so by statute. The court
may impose a term of supervised release if it imposes a term of imprisonment of one

year or less.
Length of Term of Supervised Release (U.S.S.G. § SD1.2)

1,

At least 2 years but not more than 5 years, where the count of conviction is a

Class A or a Class B felony, i.e., an offense carrying a maximum term of

imprisonment 225 years.

At least 1 year but not more than 3 years, where the count of conviction is a

Class C or a Class D felony, i-e., an offense carrying a maximum term of

imprisonment 25 years but < 25 years.

1 year, where the count of conviction is a Class E felony or a Class A .

misdemeanor, i.c., an offense carrying a maximum term of imprisonment > 6

months but <5 years.

The statute of conviction requires a minimum term of supervised release of
years.

Conditions of Supervised Release (U.S.S.G. § 5D1.3)
The court must impose certain conditions of supervised release and may impose
other conditions of supervised release.

5, RESTITUTION (U.SS.G. § 5E1.1)

 

 

 

 

 

 

 

 

 

 

1,

The court must order full restitution to the victim(s) of the offense(s) of
conviction. (See 18 U.S.C. §§ 3556, 3663A, 3664.) The court will determine
who the victims are and their restitution amounts.

The court must order full restitution to the victim(s) of the offense(s) of
conviction. (See 18 U.S.C. §§ 3556, 3663A, 3664) The parties agree that full
restitution is $ .

 

 
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|.

 

 

 

 

 

 

 

 

 

 

Defendant: | Joseph Delfgauw Count: | One
Docket No.: Statute: 18 U.S.C, §1344 — Bank Fraud
The parties agree that the court may order restitution to the victim(s) of the offense(s)

of conviction in any amount up to and including $
(See 18 U.S.C. §§ 3663(a)(3), 3664.)

The parties agree that the court may also order restitution to persons other than the
victim(s) of the offense(s) of conviction in any amount up to and including

¢ (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3), 3664.)

Restitution is not applicable.

6. FINE(U.S.S.G. § 5E1.2)

a.

Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is
unable to pay and is not likely to become able to pay any fine.” (See ULS.S.G. §
5E1.2(a).) Generally, the fine authorized by the guidelines is limited to the range
established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there are
exceptions to this general rule. (See U.S.S.G. § SE1.2(b), (c)(4).)

Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine
$ 10,000 $ 95,000

 

 

E-3

 
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Defendant: | Joseph Delfgauw Count: One
Docket No.: Statute: 18 U.S.C. §1344 — Bank Fraud
7. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)

10.

The court must impose a special assessment on every count of conviction. The special
assessments for individual defendants are:

« $100.00 for every count charging a felony ($400 for a corporation),

« $25.00 for every count charging a Class A misdemeanor ($125 for a corporation),

= $10.00 for every count charging a Class B misdemeanor ($50 for a corporation),
and

= $5.00 for every count charging a Class C misdemeanor or an infraction ($25 for a
corporation).

“The defendant must pay a special assessment or special assessments in the total amount

of $100.00

FORFEITURE (U.S.S.G. § 5E1.4)

 

 

 

 

 

 

Assets of the defendant will be forfeited. a | Assets of the defendant will not

 

 

 

 

be forfeited.

ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES
List any additional applicable guideline, policy statement, or statute.

 

 

 

 

 

UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)
List any applicable aggravating or mitigating circumstance that might support a term of
imprisonment above or below the applicable guideline range.

 

 

 

B-4
